Case: 1:11-cv-01379 Document #: 130 Filed: 07/10/12 Page 1 of 1 PageID #:1235

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.0.3
                               Eastern Division

Vito A Pesce
                                  Plaintiff,
v.                                                  Case No.: 1:11−cv−01379
                                                    Honorable Robert W. Gettleman
First Credit Services, Inc.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 10, 2012:


       MINUTE entry before Honorable Robert W. Gettleman: Status hearing held on
7/10/2012. Plaintiff's claims are dismissed with prejudice and the class claims are
dismissed without prejudice, with leave to reinstate within 21 days. Civil case terminated.
Mailed notice (gds)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
